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         – and –

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Co-Counsel to Delaware Trust Company, as
Indenture Trustee

                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY

In re:                                                     Chapter 11

CONGOLEUM CORPORATION,                                     Case No. 20-18488 (MBK)

                               Debtor.


                              NOTICE OF APPEARANCE AND
                            REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that, pursuant to section 1109(b) of title 11 of the United

States Code and Rules 2002 and 9010(b) of the Federal Rules of Bankruptcy Procedure, the

undersigned hereby appear in the above-captioned cases as co-counsel to Delaware Trust

Company, as indenture trustee, a creditor and party in interest herein, and hereby request that all

notices and all other papers set forth in Bankruptcy Rules 2002 and 9010(b), whether sent by the

Clerk of the Court, the Debtor or its successors, or any creditor, or party in interest, be given to

and served upon the persons set forth below, and that such names and addresses be added to any
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master mailing list:

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                                      mweinstein@golenbock.com

       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices,

papers and pleadings referenced in the above-referenced Bankruptcy Rules but also, without

limitation, notices of orders, motions, applications, petitions, pleadings, complaints, plans,

disclosure statements, hearings, requests, objections, answering or reply papers, memoranda and

briefs in support of any of the foregoing and any other documents brought before this Court with

respect to these cases or the Debtor.

       PLEASE TAKE FURTHER NOTICE that neither this request for notice nor any

subsequent appearance, pleading, proof of claim, or other writing or conduct shall constitute a

waiver of any: (a) rights to have any and all final orders in any and all non-core matters entered

only after de novo review by a United States District Court; (b) rights to trial by jury in any

proceeding as to any and all matters so triable herein or in any case, controversy or proceeding

relating hereto; (c) rights to have the reference withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and (d) other rights,



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claims, actions, defenses, setoffs, recoupments, or other matters under any agreement, law or

equity, all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly

reserved.

Dated: Hackensack, New Jersey
       July 15, 2020                          LAW OFFICES OF MOSHIE SOLOMON, P.C.

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